         Case 4:22-cv-00739-YGR Document 75 Filed 10/12/23 Page 1 of 3




 1   BURSOR & FISHER, P.A.
     L. Timothy Fisher (State Bar No. 191626)
 2   1990 North California Blvd., Suite 940
     Walnut Creek, CA 94596
 3   Telephone: (925) 300-4455
 4   Facsimile: (925) 407-2700
     E-mail: ltfisher@bursor.com
 5
     BURSOR & FISHER, P.A.
 6   Max S. Roberts (pro hac vice)
     Julian C. Diamond (pro hac vice)
 7   1990 North California Blvd., Suite 940
 8   1330 Avenue of the Americas, 32nd Floor
     New York, NY 10019
 9   Telephone: (646) 837-7150
     Facsimile: (212) 989-9163
10   E-mail: mroberts@bursor.com
             jdiamond@bursor.com
11

12   Attorneys for Plaintiffs

13

14

15

16
                                  UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
     ASHLEY CARROLL, individually and on         Case No. 4:22-cv-00739-YGR
19   behalf of all others similarly situated,
                                                 STIPULATION OF DISMISSAL
20                              Plaintiff,
21
                    v.
22
     MYRIAD GENETICS, INC.,
23
                                Defendant.
24

25

26

27

28
     STIPULATION OF DISMISSAL
     CASE NO. 4:22-CV-00739-YGR
         Case 4:22-cv-00739-YGR Document 75 Filed 10/12/23 Page 2 of 3




 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Ashley Carroll
 2   (“Plaintiff”) and Defendant Myriad Genetics, Inc. (“Defendant”), by and through their designated
 3   counsel, hereby stipulate that this action be hereby dismissed with prejudice. Each party shall bear
 4   their own fees and costs.
 5

 6   Dated: October 12, 2023              BURSOR & FISHER, P.A.

 7                                        By: /s/ L. Timothy Fisher

 8                                        L. Timothy Fisher (State Bar No. 191626)
 9                                        1990 North California Blvd., Suite 940
                                          Walnut Creek, CA 94596
10                                        Telephone: (925) 300-4455
                                          Facsimile: (925) 407-2700
11
                                          E-mail: ltfisher@bursor.com
12
                                          BURSOR & FISHER, P.A.
13                                        Max S. Roberts (pro hac vice)
                                          Julian C. Diamond (pro hac vice)
14                                        1990 North California Blvd., Suite 940
15                                        1330 Avenue of the Americas, 32nd Floor
                                          New York, NY 10019
16                                        Telephone: (646) 837-7150
                                          Facsimile: (212) 989-9163
17                                        E-mail: mroberts@bursor.com
                                                  jdiamond@bursor.com
18

19                                        Attorneys for Plaintiffs

20   Dated: October 12, 2023              GREENBERG TRAURIG, LLP
21
                                          By: /s/ William J. Goines
22
                                          William J. Goines (State Bar No. 61290)
23                                        1900 University Avenue, 5th Floor
                                          East Palo Alto, CA 94303
24
                                          Telephone: (650) 289-7860
25                                        Facsimile: (650) 328-8508
                                          goinesw@gtlaw.com
26

27                                        GREENBERG TRAURIG, LLP
                                          Robert J. Herrington (State Bar No. 234417)
28
     STIPULATION OF DISMISSAL                                                                         1
     CASE NO. 4:22-CV-00739-YGR
         Case 4:22-cv-00739-YGR Document 75 Filed 10/12/23 Page 3 of 3




 1                                         Jonathan S. Goldsten (State Bar No. 318990)
                                           1840 Century Park East, Suite 1900
 2                                         Los Angeles, CA 90067-2121
                                           Telephone: (310) 586-7700
 3
                                           Facsimile: (310) 586-7800
 4                                         herringtonr@gtlaw.com
                                           Jonathan.goldstein@gtlaw.com
 5

 6                                         Attorneys for Defendant

 7
                                      SIGNATURE ATTESTATION
 8
            The filing attorney attests that he has obtained concurrence regarding the filing of this
 9
     document from each of the other signatories to this document.
10
                                           By:    /s/ L. Timothy Fisher
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATION OF DISMISSAL                                                                           2
     CASE NO. 4:22-CV-00739-YGR
